Case 2:04-cr-20017-BBD Document 333 Filed 05/25/05 Page 1 of 2 Page|D 686

IN THE UNITED STATES DlSTR|CT COURT Fli.EtJ sir % 553-
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN DlVlSION

UNITED STATES OF AMER|CA

 

V.

RANDE LAZAR, M.D., dlbla
OTOLARYNGOLOGY

)
)
)
) criminal No. 04-20017-Drv
§
coNsuLTANTs oF MEMPHis )

 

ORDER

 

On motion ofthe United States and forgood cause shown, the State ofTennesSee is
hereby ORDERED to provide the court With an Arni`cus Curiae brief regarding the June 29,

2001 office Review.m n -éu/»u. 7%4,5¢ 350 2005
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Eniered on this 35 day of ,2005.

 

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HONORABLE D|ANE K. VESCOVO
UN|TED STATES l\/IAG|STRATE JUDGE

Dated: d :i /i'./r/i/ 525 .0)5

   

Approved:

   

CAM TOVVERS JONES
Assistant United States Atto

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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

